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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
TAMPA DIVISION
BY GEORGE, LLC,
Plaintiff,
Vv. CASE NO. 8:10-CV-1894-T-27-MAP
HURRICANE SHOOTERS, LLC,

Defendant.

CONSENTED FINAL JUDGMENT

This matter came on before the Court on the stipulation of the parties pursuant to the
terms of their Settlement Agreement, this Court being fully apprised in the premises, it is

ORDERED AND ADJUDGED

1. U.S. Patent Nos. 7,243,812 and 7,780,033 are hereby declared to be valid patents
in all respects under the United States patent laws.

2. All of the claims and counterclaims in this action are dismissed with prejudice,
with each party bearing its own costs and attorneys’ fees.

DONE AND ORDERED this / 0 day of July, 2012 in Chambers, Tampa, Florida.

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ys JAMES D. WHITTEMORE

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